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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                           GREAT FALLS DIVISION


RHETT CRANTZ, Individually, as                  Case No. CV-14-56-GF-BMM
Personal Representative of the Estate
of Venus Crantz/ and as Guardian of             JUDGMENT IN A CIVIL CASE
Marina Crantz, Marley Crantz,
McKenzy Crantz, and Maisen Crantz,


                      Plaintiff,

  vs.

UNITED STATES OF AMERICA,

                      Defendant.



        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

 X     Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been rendered.

       IT IS ORDERED AND ADJUDGED that the Clerk of Court enter judgment
 by separate document in favor of the plaintiff and against the defendant.

       IT IS FURTHER ORDERED that plaintiff is entitled to such costs as are
 authorized by law.

        Dated this 13th day of January, 2017.
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                     TYLER P. GILMAN, CLERK

                     By: /s/ M. Stewart
                     M. Stewart, Deputy Clerk
